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                                 #:1948


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11
      Lead Counsel for Lead Plaintiff                       Liaison Counsel for Lead Plaintiff
12    and the Class                                         and the Class
13
14                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
15
16    LEON D. MILBECK, on behalf of                  )   No. 2:18-cv-02612-SVW
      himself and all others similarly situated      )
17                                                   )   CLASS ACTION
                          Plaintiff,                 )
18                                                   )
              vs.                                    )   DECLARATION OF JUSTIN B.
19                                                   )   FARAR IN SUPPORT OF LEAD
      TRUECAR, INC., et al.,                         )   PLAINTIFF’S MOTION TO
20                                                   )   COMPEL DEFENDANTS’
                          Defendants.                )   PRODUCTION OF SLACK DATA
21                                                   )   AND TEXT MESSAGES
                                                     )
22                                                   )
                                                     )
23                                                   )   Courtroom: 550
                                                     )   Honorable Alicia G. Rosenberg
24                                                   )
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                                             DECLARATION OF JUSTIN B. FARAR ISO MOTION TO COMPEL
                                        DEFENDANTS’ PRODUCTION OF SLACK DATA AND TEXT MESSAGES
                                                                       Case No. 2:18-cv-02612-SVW-AGR
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  1   I, Justin B. Farar, declare and state as follows:
  2         1.     I am an attorney with the law firm of Kaplan Fox & Kilsheimer LLP,
  3   liaison counsel for Lead Plaintiff Oklahoma Police Pension and Retirement Fund
  4   (“Plaintiff”) and the proposed class. I am a member of good standing of the bar of
  5   California and am admitted to practice in this district. I respectfully submit this
  6   declaration in support of Lead Plaintiff’s Motion to Compel Defendants’
  7   Production of Slack Data and Text Messages.
  8         2.     Attached hereto as Exhibit 1 is a true and correct copy of a document
  9   produced in this matter by Defendant TrueCar Inc. (“TrueCar”), Bates stamped
10    TRUE00216092.
11          3.     Attached hereto as Exhibit 2 is a true and correct copy of a document
12    produced by TrueCar in this matter, Bates stamped TRUE00217461.
13          4.     Attached hereto as Exhibit 3 is a true and correct copy of a document
14    produced by TrueCar in this matter, Bates stamped TRUE000078008.
15          5.     Attached hereto as Exhibit 4 is a true and correct copy of a document
16    produced by TrueCar in this matter, Bates stamped TRUE000023948.
17          6.     Attached hereto as Exhibit 5 is a true and correct copy of a document
18    produced by TrueCar in this matter, Bates stamped TRUE000094841.
19          7.     Attached hereto as Exhibit 6 is a true and correct copy of a document
20    produced by TrueCar in this matter, Bates stamped TRUE000415387.
21          8.     Attached hereto as Exhibit 7 is a true and correct copy of a document
22    produced by TrueCar in this matter, Bates stamped TRUE000210833.
23          9.     Attached hereto as Exhibit 8 is a true and correct copy of a document
24    produced by TrueCar in this matter, Bates stamped TRUE000760431.
25          10.    Attached hereto as Exhibit 9 is a true and correct copy of a document
26    produced by TrueCar in this matter, Bates stamped TRUE000116437.
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                                            DECLARATION OF JUSTIN B. FARAR ISO MOTION TO COMPEL
                                       DEFENDANTS’ PRODUCTION OF SLACK DATA AND TEXT MESSAGES
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  1         11.    Attached hereto as Exhibit 10 is a true and correct copy of a document
  2   produced by TrueCar in this matter, Bates stamped TRUE000265929.
  3         I declare under penalty of perjury under the laws of the United States of
  4   America that the foregoing facts are true and correct.
  5         Executed this 26th of April, 2019 in Los Angeles, California.
  6
                                      By: /s/     Justin B. Farar_______
  7                                               Justin B. Farar
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                                           DECLARATION OF JUSTIN B. FARAR ISO MOTION TO COMPEL
                                      DEFENDANTS’ PRODUCTION OF SLACK DATA AND TEXT MESSAGES
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                                 #:1951


      PROOF OF SERVICE VIA ELECTRONIC POSTING PURSUANT TO THE
  1
        CENTRAL DISTRICT OF CALIFORNIA LOCAL RULES AND ECF
  2                   GENERAL ORDER NO. 10-07:
  3
  4         I HEREBY CERTIFY that, on April 26, 2019, I electronically filed the
  5   foregoing with the Clerk of the Court using the CM/ECF system, which will send a
  6   notice of electronic filing to all registered users. I certify under penalty of perjury
  7   under the laws of the United States of America that the foregoing is true and
  8   correct.
  9         Executed on April 26, 2019.
10
                                               /s/ Justin B. Farar______
11                                                 Justin B. Farar
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                                            DECLARATION OF JUSTIN B. FARAR ISO MOTION TO COMPEL
                                       DEFENDANTS’ PRODUCTION OF SLACK DATA AND TEXT MESSAGES
                                                             Case No. 2:18-cv-02612-SVW- AGR—Page 3
